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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                  Hon. Kevin McNulty

                                           Criminal No. 19-525
                     vs.
                                           TRIAL SCHEDULING ORDER

 WILLIAM GREEN
                       Defendant

      This matter having come before the Court on a proposed revised

trial scheduling Order; and the United States being represented by Craig

Carpenito, United States Attorney for the District of New Jersey (Anthony P.

Torntore    and     Matthew    Feldman   Nikic,   Assistant   U.S.   Attorneys,

appearing) and defendant William Green (by Michael Gilberti, Esq.); and

the Court having determined that this matter should be scheduled for trial;

and for good cause shown,
      It is on this 30th day of October, 2020, ORDERED that:

      1.        The Government shall provide its pre-marked exhibits on or
before December 11, 2020.
           a) The authenticity and chain of custody of the Government’s

pre-marked exhibits shall be deemed to have been accepted unless an

objection is asserted in accordance with paragraph 1(c).

           b)    If the Government discloses the scientific analysis of an

exhibit that it proposes to introduce at trial and that analysis has been

determined by an expert in the field of science involved, the scientific

analysis of the exhibit shall be deemed to have been accepted unless an

objection is asserted in the form set forth in paragraph 1(c).
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         c) If the defendant wishes to contest the authenticity, chain of

custody, or scientific analysis of an exhibit, counsel for the defendant shall

file, on or before December 29, 2020, a notice that the authenticity, chain

of custody, and/or scientific analysis of the exhibit will be contested at

trial together with a statement delineating why the authenticity, chain of

custody, and/or scientific analysis of the exhibit is being challenged and

a certification that the challenge is being made in good faith.

      2. The Defendant shall provide its pre-marked exhibits on or before

December 29, 2020.

         a) The authenticity and chain of custody of the Defendant’s pre-

marked exhibits shall be deemed to have been accepted unless an

objection is asserted in accordance with paragraph 2(c).

         b) If the Defendant discloses the scientific analysis of an exhibit

that the Defendant proposes to introduce at trial and that analysis has

been determined by an expert in the field of science involved, the scientific

analysis of the exhibit shall be deemed to have been accepted unless an

objection is asserted in the form set forth in paragraph 2(c).

         c) If the Government wishes to contest the authenticity, chain of

custody, or scientific analysis of an exhibit, counsel for the Government

shall file, on or before January 5, 2021, a notice that the authenticity,

chain of custody, and/or scientific analysis of the exhibit will be

contested at trial together with a statement delineating why the

authenticity, chain
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of custody, and/or scientific analysis of the exhibit is being challenged and

a certification that the challenge is being made in good faith.

        3. The Government shall provide all material to be disclosed under

Giglio v. United States, 405 U.S. 150 (1972), and its progeny, on or

before January 8, 2021, and has agreed to provide any material to be

provided under the Jencks Act, 18 U.S.C. § 3500, on or before the same

date.

        4. The Defendant has agreed to produce all “reverse Jencks” that is

required to be disclosed under Federal Rule of Criminal Procedure 26.2 on

or before January 8, 2021.
        5. If the Government intends to offer any Rule 404(b) evidence, the
Government shall provide notice of this evidence in the form delineated in

Federal Rule of Evidence 404(b)(2)(A) on or before December 11, 2020.

        6.   If the defendant intends to offer any “reverse Rule 404(b)”

evidence, the defendant shall provide notice of this evidence in the

form delineated in Federal Rule of Evidence 404(b)(2)(A) on or before

December 11, 2020.

        7. The parties shall file any in limine motions, addressed to the

admissibility of evidence, on or before December 11, 2020; responses

to such motions may be filed on or before December 18, 2020; any

replies may be filed on or before January 5, 2021; and oral argument on

such motions shall be held on January 11, 2021 at 3:00 p.m.

        8. A final pretrial conference will be held on January 11, 2020 at 3:00

p.m.
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       9. Jury selection shall commence on January 15, 2021, at 9:00
a.m.

       10. Trial shall commence immediately following the completion of

jury selection, as early as January 15, 2021, at 9:00 a.m.




                                      /s/ Kevin McNulty
                                     _____________________________
                                     Honorable Kevin McNulty
                                     United States District Judge
